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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                      Plaintiff,

                                                                     DECISION AND ORDER

                                                                     03-CR-6142L

                       V.

EDMUND GUADALUPE, a/k/a
Cuchalin, a/k/a Cuch, JOSE ALBARRAN,
et al.,



                              Defendants.
________________________________________________



       By decision entered July 22, 2005 (Dkt. #248), United States Magistrate Judge Jonathan

W. Feldman issued a decision and order (familiarity with which is assumed) disqualifying John

R. Parrinello (“Parrinello”) or any member of his firm (“the Parrinello firm”) from representing

defendant Jose Albarran (“Albarran”) in this case. The basis for that decision was, in short, that

codefendant Edmund Guadalupe (“Guadalupe”) was previously represented in this case by the

Parrinello firm over a period of several months, and that Parrinello “had access to, or was likely

to have had access to, relevant privileged information in the course of his prior representation of”

Guadalupe. United States v. DiTommaso, 817 F.2d 201, 219 (2d Cir. 1987) (setting forth test for

disqualification).

       Parrinello appealed that decision to this Court. The matter was argued before this Court

on October 27, 2005.

       On November 16, 2005, the Court issued a decision and order (Dkt. #269) directing

Guadalupe to submit to the Court an affidavit setting forth certain information concerning the

extent, dates, and general nature of any conversations or other communication that he has had
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with any member of the Parrinello firm relating to this case. Guadalupe filed such an affidavit on

November 28, 2005 (Dkt. #274).

       After reviewing Guadalupe’s affidavit, I find that disqualification of Parrinello, as well as

any other members of the Parrinello firm, is warranted. Guadalupe, whose initial appearance in

this case occurred on September 27, 2003, states that he first met with Matthew Parrinello, who

is John Parrinello’s son and also a member of the Parrinello firm, in early October 2003.

Matthew Parrinello appeared as Guadalupe’s retained counsel on October 6, 2003. Guadalupe

continued to be represented by the Parrinello firm for the next eight months, until June 2004,

when another attorney was appointed to represent him.
       Guadalupe states that during that eight-month period, he “met several times” with

members of the Parrinello firm, particularly Matthew Parrinello. Dkt. #274 ¶ 5. During these

meetings, which occurred both at the Monroe County Jail and at federal court, Guadalupe states

that he “conveyed to [Matthew] Parrinello substantial information of a confidential nature

relating to the indictment, [Guadalupe’s] own background and the co-defendants.” Id. He adds

that these “conversations related to legal issues, including the charges, as well as [Guadalupe’s]

personal history.” Id.

       Guadalupe states that he also met with Bruce Freeman, another attorney with the

Parrinello firm, and that they “also discussed information of a confidential nature.” Id. ¶ 6. He

states that an omnibus motion that the Parrinello firm filed on his behalf in December 2003 was

based in part “on conversations [Guadalupe] had with attorneys in that law firm,” id. ¶ 7, and

that, again based on conversations between them, Matthew Parrinello prepared an affidavit that

Guadalupe signed on January 30, 2004 in support of suppression motion. Id. ¶ 8.




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        In my view, that is sufficient to justify disqualification. Although Guadalupe has not

stated precisely what sort of information he shared with his attorneys at the Parrinello firm, he is

not required to. As noted in my prior decision, “a court may not inquire into the nature of the

confidences alleged to have been revealed to the tainted attorney. To require proof of access to

privileged information would ‘put the former client to the Hobson’s choice of either having to

disclose his privileged information in order to disqualify his former attorney or having to refrain

from the disqualification motion altogether.’” Cheng v. GAF Corp., 631 F.2d 1052, 1056 (2d

Cir. 1980) (quoting Government of India v. Cook Indus., Inc., 569 F.2d 737, 740 (2d Cir. 1978)),

vacated on other grounds, 450 U.S. 903 (1981). It is for that reason that I specifically limited the
scope of Guadalupe’s affidavit to the “general subject matter” of Guadalupe’s communications

with his former attorneys. Given the limits on the Court’s ability to inquire into the details of

those communications, I find that Guadalupe’s recitation of his contacts with member of the

Parrinello firm sufficiently establishes that he conveyed to them privileged information relating

to this case.

        As was also explained in my prior decision, “there is a presumption that John Parrinello

had access to that information.” Slip op., Dkt. #269, at 4 (citing cases). Therefore, and because

“any doubt is to be resolved in favor of disqualification,” Hull v. Celanese Corp., 513 F.2d 568,

571 (2d Cir. 1975), I conclude that disqualification is appropriate.



                                         CONCLUSION


        The Decision and Order of Magistrate Judge Jonathan W. Feldman entered July 22, 2005

(Dkt. #248), disqualifying John R. Parrinello or any member of the Parrinello law firm from

representing defendant Jose Albarran (“Albarran”) in this case, is hereby affirmed.




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       Defendant , Jose Albarran, must take steps to obtain new counsel. I scheduled the matter

for December 28, 2005 at 9:00 a.m. before United States Magistrate Judge Jonathan W. Feldman

for appearance of new counsel. Defendant must appear on that date.

       IT IS SO ORDERED.



                                    _______________________________________
                                             DAVID G. LARIMER
                                           United States District Judge


Dated: Rochester, New York
       December 15, 2005.




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